          Case 3:13-cr-03482-BTM                      Document 253               Filed 11/26/14                PageID.1213              Page 1 of 5

    <\;,AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
               Sheet 1



                                             UNITED STATES DISTRICT COURT_$ ".
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                           ....
                    UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November 1, 1987)

                  MAE BARBARA WEISSBERGER [8]                                        Case Number: 13CR3482-BTM
                                                                                     MARK ADAMS
                                                                                     Defendant's Attorney
    REGISTRATION NO. 66783112
    o
    THE DEFENDANT:
    181pleaded guilty to count(s) ..:I_O:.F::.....:.T:.;H=E.,:IN.:..:..::.D..:,IC.:,T.:,M....:...E.:,N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o     was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                      Nature of Offense                                                                                 Number(s)
18 USC 1349                           CONSPIRACY TO COMMIT BANK FRAUD                                                                              I




        The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

 IVI          R     ..                                      ------------------------------------------------
 101 Count(s)_e_m_a_ln_ln..:::g;..c_o_un_ts_o_t_e_n_lc_tm_e_n_t__________
                                          f hId'                          0 arelOl
                                                                          is   IVI d'Ismlsse
                                                                                        . d on themotion
                                                                                                     .   fth e Umte
                                                                                                                 . d States.        0

 181 Assessment: $100 To be paid within 6 Months.

 181 Fine waived                                    o      Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant'S economic circumstances.
                                                                               NOVEMBER 21, 2014
                                                                              Date of Imposition of Sentence




                                                                              -~
                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                              13CR3482-BTM
      Case 3:13-cr-03482-BTM                      Document 253       Filed 11/26/14       PageID.1214          Page 2 of 5

AO 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
            Sheet 2   Imprisonment

                                                                                            Judgment   Page _ _2 _ of         5
 DEFENDANT: MAE BARBARA WElSSBERGER [8]
 CASE NUMBER: 13CR3481-BTM
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         TIME SERVED (2 DAYS).



    o Sentence imposed pursuant to Title 8 USC Section 1326{b).                        ~7€i~~~
                                                                                        BARRY    D MOSKOWITZ
    o The court makes the following recommendations to the Bureau of Prisons:           UNITED STATES DISTRICT JUDGE




     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ _ __

                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before ----------------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                               RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                     By ________~~~~~~~~~~---------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                   13CR3481-BTM
         Case 3:13-cr-03482-BTM                    Document 253               Filed 11/26/14            PageID.1215             Page 3 of 5

AD 2458 (CAS D) (Rev.4/14) Judgment in a Criminal Case
              Sheet 3 - Supervised Release
                                                                                                               Judgment Page _ ....3<--_ of         5
DEFENDANT: MAE BARBARA WEISSBERGER [8]                                                                II
CASE NUMBER: 13CR3482MBTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a ?on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug !ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than ~ drug tests per month durmg
the term of supervision, unless otherwise ordered by court.
o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                                           .
        The defendant shall comply with me requirements of the Sex Offender Registration anil Notification Act (42 U.S.c. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted ofa qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
           If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
 or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
 forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
 any special conditions imposed.

                                         STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)     the d 7fe,ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permISSion of the court; and
  (3)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                        13CR3482-BTM
           Case 3:13-cr-03482-BTM                     Document 253         Filed 11/26/14          PageID.1216           Page 4 of 5

       AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions


       DEFENDANT: MAE BARBARA WEISSBERGER [8]
       CASE NUMBER: 13CR3482·BTM
                                                                                                   ..   Judgment Page --L- of _...-;..5_ _




                                              SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
181 a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
\gj Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under federal law.
181 Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
181 Remain in your place of residence for a period of24O days, except while working at verifiable employment, attending religious services,
    performing Community Service or undergoing medical treatment or any such other reasons approved by the probation officer. The defendant
    shall be subject to electronic monitoring with the fees for electronic monitoring waived.



181 Make restitution to the Wells Fargo Bank in the amount of $197,684.00, to be paid in installments of$loo.00 per month (Subject to
     increase and decrease). Jointly and Severally with co-defendants
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening bank or credit card accounts or incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within        days.
181 Complete 300 hours of community service in a program approved by the probation officer within 18 months.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate for a period of 240, days in the home detention component of the Location Monitoring Program, which may include electronic
    monitoring, GPS, Alcohol monitoring, or other automated identification systems; the defendant shall observe all rules of such program, as
    directed by the Probation Officer. The defendant shall maintain a residential telephone line without devices and/or services that may interrupt
    the operation of the monitoring equipment, unless excused by the Probation Officer. the fees for electronic monitoring waived.

181 The defendant shall notify the Collections Unit, United States Attorney's Office within 10 days, of obtaining any interest in property,
     directly or indirectly, valued at $1,000 or more including any interest obtained under any other name, ()r entity, including a trust, partnership,
     or corporation until restitution is paid in full. The defendant shall notify the Collections Unit, United States Attorney's Office within 10
     days, before transferring any interest in property valued at $1,000 or more owned directly or indirectly by the Defendant, including any
     interest held or owned under any other name or entity, including a trust, partnership, and/or corporations.




                                                                                                                                     13CR3482-BTM
       Case 3:13-cr-03482-BTM         Document 253         Filed 11/26/14      PageID.1217         Page 5 of 5

AO 245S (CASD Rev. 08113) Judgment in a Criminal Case

  DEFENDANT:            ASHOT MNATSAKANYAN [14]                                              Judgment - Page 5 of 5
  CASE NUMBER:          13CR3481-BTM

                                           RESTITUTION


 The defendant shall pay restitution in the amount of $197.684.00             unto the United States of America.
 For the benefit of Wells Fargo Bank through the Clerk of Court




 This sum shall be due immediately. And shall be paid as follows: Defendant shall pay restitution in
 installments in the amount of $1 00 per month, subject to increase or decrease.




 The Court has determined that the defendant    does not     have the ability to pay interest. It is ordered that:
     The interest requirement is waived




                                                                                                       13CR3481-BTM
